                   Case 9:18-ap-01057-DS                       Doc 17 Filed 04/23/19 Entered 04/23/19 09:35:52                   Desc
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                         3

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                         5
                           Attorneys for Plaintiff, Corporate Recovery Associates,                      CLERK U.S. BANKRUPTCY COURT
                                                                                                        Central District of California
                         6 LLC, as Liquidating Trustee under the confirmed Chapter                      BY ortiza     DEPUTY CLERK
                           11 Plan of Channel Technologies Group, LLC
                         7

                         8                                       UNITED STATES BANKRUPTCY COURT

                         9                                         CENTRAL DISTRICT OF CALIFORNIA

                       10                                                      NORTHERN DIVISION

                       11          In re                                                   Case No. 9:16-bk-11912-DS

                       12          CHANNEL TECHNOLOGIES GROUP, LLC,                        Chapter 11

                       13                                      Debtor.                     Adv. No. 9:18-ap-01057-DS

                       14                                                                  SCHEDULING ORDER SETTING
                                   CORPORATE RECOVERY ASSOCIATES,                          DISCOVERY DEADLINE AND
                       15          LLC, AS LIQUIDATING TRUSTEE                             CONTINUED STATUS CONFERENCE
                                   APPOINTED UNDER THE CONFIRMED                           DATE
                       16          CHAPTER 11 PLAN OF CHANNEL
                                   TECHNOLOGIES GROUP, LLC,                                Status Conference
                       17                                                                  Date:         March 19, 2019
                                                                Plaintiff,                 Time:         10:30 a.m.
                       18                                                                  Place:        1415 State Street
                                   vs.                                                                   Courtroom 201
                       19                                                                                Santa Barbara, CA 93101
                                   LYNN CHEN,
                       20                                                                  Continued Status Conference
                                                                Defendant.                 Date:         November 13, 2019
                       21                                                                  Time:         1:00 p.m.
                                                                                           Place:        1415 State Street
                       22                                                                                Courtroom 201
                                                                                                         Santa Barbara, CA 93101
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                   Case 9:18-ap-01057-DS             Doc 17 Filed 04/23/19 Entered 04/23/19 09:35:52                Desc
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                         1            An initial status conference hearing was held at the above stated date and time in the

                         2 above-referenced adversary proceeding. Appearances were noted on the record.

                         3            IT IS HEREBY ORDERED that the discovery deadline is October 31, 2019, and a

                         4 continued status conference will be held on November 13, 2019 at 1:00 p.m.

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                             Date: April 23, 2019
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